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                                   6                                UNITED STATES DISTRICT COURT

                                   7
                                                                   NORTHERN DISTRICT OF CALIFORNIA
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                                  10   SHAWN ESPARZA, on behalf of herself,
                                       and all others similarly situated,
                                  11                                                        No. C 17-03421 WHA
                                                      Plaintiff,
                                  12
Northern District of California




                                               v.
 United States District Court




                                  13                                                        ORDER RE FINAL APPROVAL OF
                                       SMARTPAY LEASING, INC.,                              CLASS ACTION SETTLEMENT AND
                                  14                                                        MOTION FOR AWARD OF
                                                      Defendant.                            ATTORNEY’S FEES
                                  15

                                  16
                                                                             INTRODUCTION
                                  17
                                            In this class action for alleged violations of the Telephone Consumer Protection Act,
                                  18
                                       plaintiff moves for final approval of a proposed class settlement and for attorney’s fees and
                                  19
                                       expenses. Defendant does not oppose. For the reasons below, the motion is GRANTED. The
                                  20
                                       motion for attorney’s fees and costs is GRANTED IN PART.
                                  21
                                                                            STATEMENT
                                  22
                                            Prior orders set forth the background of this case (Dkt. Nos. 89, 104). In short, plaintiff
                                  23
                                       Shawn Esparza terminated her lease of a mobile phone from defendant Smartpay Leasing, Inc.
                                  24
                                       in early 2016. She nonetheless continued to receive promotional text messages from defendant
                                  25
                                       even after she requested defendant stop sending them. Defendant later learned of a coding
                                  26
                                       error in its platform that prevented individuals from opting out of receiving the texts. Based on
                                  27

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                                   1   these allegations, plaintiff filed her initial complaint in June 2017 asserting claims for

                                   2   violations of the TCPA (Compl. ¶¶ 19, 22–29, 53–63).

                                   3        A June 2019 order certified the following class:

                                   4                “STOP” Text Message Class: All persons within the United States
                                                    (i) to whose cellular telephone number (ii) SmartPay Leasing, Inc.
                                   5                sent a text message (iii) using its vendor Twilio, Inc.’s platform
                                                    (iv) from September 29, 2015 to June 13, 2017, (v) after texting
                                   6                the word “STOP.”
                                   7        A September 2019 order granted plaintiff’s motion for preliminary approval of a

                                   8   proposed class settlement. The same order approved, as to form and content, a notice

                                   9   concerning the class settlement agreement and final approval hearing (Dkt. No. 104). The

                                  10   settlement administrator mailed notice of the proposed class settlement and fee request to

                                  11   23,144 class members and posted all relevant documents on a website. For the notices

                                  12   returned as undeliverable, the administrator used the locator service Lexis Nexis, TransUnion,
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                                  13   reverse phone lookup, and a narrow social security skip trace to locate the individuals.

                                  14   Ultimately, only 103 individuals have been unable to receive notice, and they will be excluded

                                  15   from the class. There have been no requests to opt out and no class members have objected to

                                  16   the settlement (Heffler Decl. ¶¶ 10–13; Fenwick Decl. ¶ 12).

                                  17        Plaintiff now moves for final approval of the proposed class settlement of $8,679,000 and

                                  18   for an award of $2,142,354.60 in attorney’s fees, $32,081.58 in costs, and an incentive award

                                  19   of $2,500 for the named plaintiff. Defendant does not oppose. This order follows full briefing

                                  20   and oral argument.

                                  21                                              ANALYSIS

                                  22        Federal Rule of Civil Procedure 23(e) provides that “[t]he claims, issues, or defenses of a

                                  23   certified class . . . may be settled . . . only with the court’s approval.” When a proposed

                                  24   settlement agreement is presented, the district court must perform two tasks: (1) direct notice in

                                  25   a reasonable manner to all class members who would be bound by the proposal, and (2)

                                  26   approve the settlement only after a hearing and on finding that the terms of the agreement are

                                  27   fair, reasonable, and adequate. FRCP 23(e)(1)–(2).

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                                            1.      FINAL APPROVAL OF CLASS SETTLEMENT.
                                   1
                                                    A.      ADEQUACY OF NOTICE.
                                   2
                                            The notice must be “reasonably calculated, under all the circumstances, to apprise
                                   3
                                       interested parties of the pendency of the action and afford them an opportunity to present their
                                   4
                                       objections.” Mullane v. Central Hanover Bank & Tr. Co., 339 U.S. 306, 314 (1950) (citations
                                   5
                                       omitted). It must also describe “the terms of the settlement in sufficient detail to alert those
                                   6
                                       with adverse viewpoints to investigate and to come forward and be heard.” Mendoza v. Tucson
                                   7
                                       Sch. Dist. No. 1, 623 F.2d 1338, 1352 (9th Cir. 1980). The undersigned judge previously
                                   8
                                       approved the form, content, and planned distribution of the class notice (Dkt. No. 104). As
                                   9
                                       described above, the claims administrator has fulfilled the notice plan. This order accordingly
                                  10
                                       finds that notice to class members was adequate.
                                  11
                                                    B.      SCOPE OF RELEASE.
                                  12
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                                            This settlement only releases all claims that relate to automated text messages pursuant to
 United States District Court




                                  13
                                       the TCPA, 47 U.S.C. § 227, and parallel state law claims related to such text messages sent by
                                  14
                                       SmartPay to class members during the defined class period. Furthermore the class is defined
                                  15
                                       the same as in the class certification order. The scope of release is thus appropriately tailored
                                  16
                                       and approved.
                                  17
                                                    C.      FAIRNESS, REASONABLENESS, AND ADEQUACY OF
                                  18                        PROPOSED SETTLEMENT.
                                  19        A district court may approve a proposed class settlement only upon finding that it is fair,

                                  20   reasonable, and adequate, taking into account (1) the strength of the plaintiff’s case; (2) the

                                  21   risk, expense, complexity, and likely duration of further litigation; (3) the risk of maintaining

                                  22   class action status throughout the trial; (4) the amount offered in settlement; (5) the extent of

                                  23   discovery completed and the stage of the proceedings; (6) the experience and view of counsel;

                                  24   (7) the presence of a governmental participant; and (8) the reaction of the class members to the

                                  25   proposed settlement. FRCP 23(e); In re Online DVD-Rental Antitrust Litig., 779 F.3d 934, 944

                                  26   (9th Cir. 2015). For the following reasons and for the reasons stated in the September 2019

                                  27   order (Dkt. No. 104), this order finds that the proposed class settlement is fair, reasonable, and

                                  28   adequate under FRCP 23(e).
                                                                                        3
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                                   1        First, the settlement terms are fair, reasonable, and adequate. Although the gross

                                   2   settlement fund of $8,679,000 amounts to 75 percent of the statutory damages that plaintiff

                                   3   contends are owed to the class, there exists a risk that the class would be left with much less

                                   4   even if plaintiff did succeed at trial. Furthermore, the class representative and counsel have

                                   5   adequately represented the class. The parties reached the proposed settlement after over two

                                   6   years of litigation including an appeal to our court of appeals regarding this Court’s October

                                   7   2017 order denying a motion to compel arbitration (Dkt. No. 33), motion practice, and

                                   8   mediation with the Honorable Leo S. Papas, Ret. of Judicate West in San Diego.

                                   9        Second, the plan of allocation of the settlement proceeds is fair and reasonable. The net

                                  10   settlement after the deduction of expenses, attorney’s fees, and any incentive award will be

                                  11   distributed evenly amongst the class members. In the event that any class member does not

                                  12   cash their settlement check, the leftover funds will be redistributed to class members on a pro
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                                  13   rata basis. If the leftover funds are less than $10 per class member, they will go to cy pres

                                  14   recipient CTIA. The proposed settlement agreement does not require class members to

                                  15   participate in a claims process in order to claim their share of the settlement fund.

                                  16        In short, having considered the applicable factors, this order finds the proposed class

                                  17   settlement is fair, reasonable, and adequate so as to warrant final approval. Accordingly, final

                                  18   approval of the proposed class settlement and plan of allocation is GRANTED.

                                  19        2.      MOTION FOR ATTORNEY’S FEES, EXPENSES, AND
                                                    INCENTIVE AWARD.
                                  20
                                                    A.      EXPENSES.
                                  21
                                            Class counsel seek to recover from the settlement fund $32,081.58 in litigation expenses.
                                  22
                                       These expenses include costs for an expert witness ($14,888), transcripts ($6,123.29), and
                                  23
                                       travel. Counsel also seek reimbursement for postage, copying, filing, subscription, and process
                                  24
                                       server fees. These expenses were a reasonable and necessary part of the litigation, and are of a
                                  25
                                       type customarily billed to a fee-paying client. No class member objected to recovery of these
                                  26
                                       costs. The motion for reimbursement of these costs is GRANTED.
                                  27

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                                   1         Settlement administrator Heffler Claims Groups shall receive $75,000 of administrative

                                   2   expenses from the settlement fund.

                                   3                B.      INCENTIVE AWARD.
                                   4         Plaintiff requests a $2,500 service award. Generally, only when a class representative

                                   5   has actually incurred genuine out-of-pocket costs should those costs be considered. Plaintiff’s

                                   6   declaration does, however, state that she worked with counsel throughout the litigation process,

                                   7   especially during discovery, and also “cleared [her] schedule and booked a flight from Arizona

                                   8   to San Francisco for a settlement conference in San Francisco which was thereafter vacated.”

                                   9   Given these efforts, a $100 service award is GRANTED.

                                  10                C.      ATTORNEY’S FEES.
                                  11         A district court must ensure that attorney’s fees are “fair, adequate, and reasonable,” even

                                  12   if the parties have entered into a settlement agreement that provides for those fees. Staton v.
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                                  13   Boeing Co., 327 F.3d 938, 963–64 (9th Cir. 2003). “In ‘common-fund’ cases where the

                                  14   settlement or award creates a large fund for distribution to the class, the district court has

                                  15   discretion to use either a percentage or lodestar method.” Our court of appeals has recognized

                                  16   25 percent of the common fund as a benchmark award for attorney’s fees under the percentage

                                  17   method. Hanlon v. Chrysler Corp., 150 F.3d 1011, 1029 (9th Cir. 1998). The benchmark

                                  18   may, however, be adjusted, or replaced by a lodestar calculation to account for the specific

                                  19   circumstances of the case. See Six Mexican Workers v. Arizona Citrust Growers, 904 F.2d

                                  20   1301, 1311(9th Cir. 1990).

                                  21         Class counsel here seek $2,142,354.60 — or 25 percent of the net settlement fund if all

                                  22   fees, expenses and awards were to be granted. This action began two years ago and since then,

                                  23   plaintiff’s counsel has conducted five depositions and motion practice including a motion to

                                  24   compel arbitration, which led to an appeals process, as well as a motion for class certification.

                                  25   The total recovery, had the case been won, would have been approximately $11,572,000, so

                                  26   the settlement represents 75 percent of the potential recovery. An award of $2,000,000, which

                                  27   is approximately 23 percent of the gross settlement fund, is reasonable here.

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                                   1         This amount still far exceeds the lodestar of $914,301.50. Class counsel logged 1,500

                                   2   hours for this case. The majority of counsel’s billing records demonstrate fair billing judgment

                                   3   and is evidenced by counsel’s representation of reducing double billing. Counsel also

                                   4   appeared to staff reasonably with paralegals taking care of the scheduling and document

                                   5   management while the attorneys took care of strategy and substantive discovery and motion

                                   6   practice.

                                   7         Counsel propose the following billing rates:

                                   8                  Name                              Position               Rate

                                   9               Ron Marron                            Partner                          $785

                                  10               Alexis Wood                      Senior Associate                      $575

                                  11               Kas Gallucci                     Senior Associate                      $525

                                  12                Paralegals                            N/A                             $215
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                                  13   (Marron Decl. ¶ 31). In light of other rates approved in this district, these rates are acceptable.

                                  14   Thus, class counsel’s lodestar is $914,301.50. The lodestar may be multiplied according to a

                                  15   variety of reasonable factors such as the benefit obtained for the class. In re Bluetooth Headset

                                  16   Prods. Liabl. Litig., 654 F.3d 935, 941–42. As stated above, the class will recover

                                  17   approximately 75 percent of the potential damages. Additionally, class counsel litigated

                                  18   effectively despite the risk of nonpayment by taking the case on a contingent-fee basis despite

                                  19   the substantial risks of litigation.

                                  20         In sum, class counsel took a fair risk and won the class a substantial benefit. An award of

                                  21   $2,000,000 representing a lodestar multiplier of approximately 2.187 is reasonable. The

                                  22   motion for attorney’s fees is accordingly GRANTED IN PART. Counsel is awarded $2,000,000.

                                  23                                               CONCLUSION

                                  24         It is hereby ordered as follows:

                                  25                 1.          The notice of settlement, as well as the manner in which it was sent to

                                  26         class members, fairly and adequately described the proposed class settlement, the manner

                                  27         in which class members could object to or participate in the settlement, and the manner in

                                  28         which class members could opt out of the class; was the best notice practicable under the
                                                                                           6
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                                   1        circumstances; was valid, due, and sufficient notice to class members; and complied fully

                                   2        with the Federal Rules of Civil Procedure, due process, and all other applicable laws. A

                                   3        full and fair opportunity has been afforded to class members to participate in the

                                   4        proceedings convened to determine whether the proposed class settlement should be

                                   5        given final approval. Accordingly, the undersigned hereby determines that all class

                                   6        members who did not exclude themselves from the settlement by filing a timely request

                                   7        for exclusion are bound by this settlement order.

                                   8              2.        The undersigned also finds that the proposed class settlement is fair,

                                   9        reasonable, and adequate as to the class, plaintiff, and defendant; that it is the product of

                                  10        good faith, arms-length negotiations between the parties; and that the settlement is

                                  11        consistent with public policy and fully complies with all applicable provisions of law.

                                  12        The settlement is therefore APPROVED.
Northern District of California
 United States District Court




                                  13              3.        Having considered class counsel’s motion for attorney’s fees,

                                  14        reimbursement of expenses, and an incentive award, the undersigned hereby awards class

                                  15        counsel attorney’s fees of $2,000,000. Half of this amount shall be paid after the

                                  16        “effective date” as defined in the settlement agreement. The other half shall be paid

                                  17        when class counsel certify that all funds have been properly distributed and the file can

                                  18        be completely closed.

                                  19              4.        Class counsel shall also receive $32,081.58 as reimbursement for their

                                  20        litigation expenses, to be paid from the settlement fund. The class representative shall

                                  21        receive a $100 service award.

                                  22                                   *              *               *

                                  23        The Court particularly commends Attorney Alexis Wood for the excellent work she has

                                  24   done on this case.

                                  25        IT IS SO ORDERED.

                                  26   Dated: January 28, 2020.

                                  27
                                                                                                WILLIAM ALSUP
                                  28                                                            UNITED STATES DISTRICT JUDGE
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